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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


 HANNAH CRAMER, et al.,

                                         Plaintiffs,
 v.                                                       Case No. 3:18-cv-00039

 ARKESIA, INC. d/b/a CLUB ROUGE, et al.,

                                         Defendants.


     JOINT MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT
AND DISMISSAL OF PLAINTIFF’S AMENDED COMPLAINT WITH PREJUDICE

       COMES NOW Plaintiffs Hannah Cramer, Jessica Blakley, Shernell Crutchfield, and Opt-

In Plaintiffs (collectively “Plaintiffs”) and Defendants Arkesia, Inc. d/b/a/ Club Rouge, Circle 2,

Inc. d/b/a Daddy Rabbits, Circle 2, Inc. d/b/a Candy Bar, Imaginary Images, Inc. d/b/a Paper

Moon, BTF3 LLC d/b/a Papermoon, M.G.B., Inc. d/b/a Pure Pleasure, William Andreas Pyliaris,

and and/or any other entities affiliated with or controlled by Arkesia, Inc. d/b/a/ Club Rouge, Circle

2, Inc. d/b/a Daddy Rabbits, Circle 2, Inc. d/b/a Candy Bar, Imaginary Images, Inc. d/b/a Paper

Moon, BTF3 LLC d/b/a Papermoon, M.G.B., Inc. d/b/a Pure Pleasure, and William Andreas

Pyliaris (collectively “Defendants”) (collectively “Parties”), jointly move the Court for an order

approving the agreements between the parties to resolve this case and dismissing Plaintiff’s

Amended Complaint with prejudice.




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                                  Respectfully submitted,

                                  HANNAH CRAMER, JESSICA BLAKLEY,
                                  SHERNELL CRUTCHFIELD, AND OPT-IN
                                  PLAINTIFFS

                                                 /s/
                                  Justin P. Keating (VA Bar 75880)
                                  BEANS AXELROD, PC
                                  1717 K Street, NW
                                  Suite 1100
                                  Washington, D.C. 20006
                                  Tel: (202) 328-7222
                                  jkeating@beinsaxelrod.com

                                                 /s/
                                  Lloyd R. Ambinder (Pro Hac Vice Admission)
                                  LaDonna Lusher (Pro Hac Vice Admission)
                                  VIRGINIA & AMBINDER, LLP
                                  40 Broad Street, 7th Floor
                                  New York, New York 10004
                                  Tel: (212) 943-9080

                                  COUNSEL FOR PLAINTIFFS

                                  and

                                  ARKESIA, INC. D/B/A CLUB ROUGE,
                                  CIRCLE 2, INC. D/B/A DADDY RABBITS,
                                  CIRCLE 2, INC. D/B/A CANDY BAR,
                                  IMAGINARY IMAGES, INC. D/B/A PAPER
                                  MOON, BTF3, INC. D/B/A PAPERMOON,
                                  MGB., INC. D/B/A PURE PLEASURE,
                                  AND/OR ANY OTHER ENTITIES
                                  AND WILLIAM ANDREAS PYLIARIS

                                          /s/
                                  Thomas M. Lucas (VSB No. 27274)
                                  Kristina H. Vaquera, Esq. (VSB No. 43655)
                                  Milena Radovic, Esq. (VSB No. 91000)
                                  Jackson Lewis, PC
                                  500 E. Main Street, Suite 800
                                  Norfolk, Virginia 23510
                                  Telephone: (757) 648-1445
                                  Facsimile:    (757) 648-1418
                                  E-mail:       thomas.lucas@jacksonlewis.com

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                                              vaquerak@jacksonlewis.com
                                              milena.radovic@jacksonlewis.com

                                  COUNSEL FOR DEFENDANTS




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                                   Certificate of Service

I hereby certify that on September 27, 2018, I will electronically file the foregoing JOINT
MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT AND DISMISSAL OF
PLAINTIFF’S AMENDED COMPLAINT WITH PREJUDICE with the Clerk of Court using
the CM/ECF system which then send a notification of such filing (NEF) to opposing counsel as
follows:

                            Thomas M. Lucas (VSB No. 27274)
                            Kristina H. Vaquera, Esq. (VSB No. 43655)
                            Milena Radovic, Esq. (VSB No. 91000)
                            Jackson Lewis, PC
                            500 E. Main Street, Suite 800
                            Norfolk, Virginia 23510
                            thomas.lucas@jacksonlewis.com
                            vaquerak@jacksonlewis.com
                            milena.radovic@jacksonlewis.com
                            Counsel for Defendants



                                                 ____________/s/________

                                                 Justin P. Keating




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